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        6    Attorneys for Plaintiff
             MAFFICK LLC
        7
        8                                       UNITED STATES DISTRICT COURT
        9                                 NORTHERN DISTRICT OF CALIFORNIA
       10
       11 MAFFICK LLC, a Delaware limited                      Case No. 3:20-cv-05222
          liability company,
       12                                                      PLAINTIFF MAFFICK LLC’S
                        Plaintiff,                             CERTIFICATION OF INTERESTED
       13                                                      ENTITIES OR PERSONS
                  v.
       14                                                      Assigned for All Purposes To:
          FACEBOOK, INC, a Delaware                            Hon. James Donato
       15 corporation, and DOES 1-10, inclusive,
       16                         Defendants.
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TroyGould
   PC                              PLAINTIFF MAFFICK LLC’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
            04260-0002 340607.1
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        1            TO THE COURT AND ALL PARTIES APPEARING OF RECORD: Pursuant
        2 to Fed. R. Civ. P. 7.1 and Civil Local Rule 3-15, the undersigned counsel of record for
        3 Plaintiff Maffick LLC (“Maffick”) certifies that other than the named parties in this action,
        4 it knows of no persons, associations of persons, firms, partnerships, corporations (including
        5 parent corporations), or other entities that have either: (i) a financial interest in the subject
        6 matter in controversy or in a party to the proceeding; or (ii) any other kind of interest that
        7 could be substantially affected by the outcome of the proceeding.
        8
            Dated: September 1, 2020
        9                                                 TROYGOULD PC
       10
       11                                                 By:
                                                               Amy Nashon Stalling
       12                                                 Attorneys for Plaintiff
                                                          MAFFICK LLC
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TroyGould
   PC                             PLAINTIFF MAFFICK LLC’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
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